Case 1:23-cv-03721-SCJ Document 1-154 Filed 08/21/23 Page 1 of 10




                  EXHIBIT B-143
     Case 1:23-cv-03721-SCJ Document 1-154 Filed 08/21/23 Page 2 of 10

                                                                           FILEDINOFFICE

                  IN THE SUPERIOR COURT OF FULTON COUNTY
                             STATE OF GEORGIA
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IN RE '2
      "' MAY 2022 SPECIAL PURPOSE
GRANQJURY                                            2022-EX-000024
            I




  ORDER ENTERING PORTIONS OF SPECIAL PURPOSE GRAND JURY'S
              FINAL REPORT INTO COURT RECORD
        i
       On 13 February 2023, the undersigned entered an Order directing the publication,
        I
        I
pursuaht to O.C.G.A. § 15-12-:80and consistent with the holding in Thompson v. Macon-
       :J
Bibb Cfty. Hosp. Auth., 246 Ga. 777 (1980), of certain portions of the Special Purpose

Grand Jury's final report that sets forth its findings and recommendations to the District

Attorney of Fulton County concerning its investigation into possible criminal interference

in the 4020 general election in Georgia. Those three portions are attached to this Order
       ;I
       ,,
as Exhi:bitsA - C. The Clerk is directed to make this Order and its attachments available

to the public.

       SO ORDERED this 16th day of February




                                                 Superior Court of Fulton County
                                                •Atlanta Judicial Circuit




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Case 1:23-cv-03721-SCJ Document 1-154 Filed 08/21/23 Page 3 of 10




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                     EXHIBIT A
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t() Order of 16 February 2023
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  1           2022-EX-000024
  II
     Case 1:23-cv-03721-SCJ Document 1-154 Filed 08/21/23 Page 4 of 10




 1                        SPECIALPURPOSEGRANDJURYREPORT
 2
 3           This Special Purpose Grand Jury (herein referred to as "the Grand Jury") was
 4   im'paneled pursuant to an Order dated January 24, 2022 by Christopher S. Brasher,
 5   Chief Judge of the Superior Court of Fulton County, Atlanta Judicial Circuit. The
 6   Grand Jury consisted of twenty-six Fulton County residents, three of whom were
        i
 7   altfrnates. On any day testimony was received or deliberations were had, the number
 8   of!ljurors present ranged between sixteen and twenty-four as availability allowed.
        I



 9   Pu~suant to statute, if we had our needed quorum of sixteen jurors present, we could
10   do/business with that.
11           The Grand Jury was impaneled to investigate a specific issue: the facts and
12   circumstances
        I
                   relating directly or indirectly to possible attempts to disrupt the lawful
       :;                               ;   '

13   adriinistration of the 2020 presidential elections in the State of Georgia.
       J:
       :I,
14     .:    This Grand Jury was selected on May 2nd , 2022 and first heard evidence on
       '\
15   June 1st , 2022.   We continued to hear evidence and receive information into
       ·'
16   December 2022. The Grand Jury received evidence from or involving 75 witnesses
17   during the course of this investigation, the overwhelming majority of which
18   information was delivered in person under oath. The Grand Jury also received
19   information in the form of investigator testimony and various forms of digital and
       'II
20   physical media. Pursuant to Georgia Jaw, a team of assistant district attorneys
       I·
21   prbvided    the    Grand Jury with         applicable statutes   and procedures.   Any ·
22   recommendation set out herein is the sole conclusion of the· Grand Jury based on
23   testimony presented, facts received, and our deliberations.
24           Following is the final report of the Special Purpose Grand Jury. We set forth
25   for the Court our recommendations on indictments and relevant statutes, including
       '
26   thf votes by the Grand Jurors. This includes the votes respective to each topic,
27   in~icated in a "Yea/Nay/ Abstain" format throughout.             The total number of
       i
28   Grand Jurors who placed a vote on each topic has been indicated in each section.
29   Footnotes have been added in certain places where a juror requested the opportunity
30   to clarify their vote for any reason. Each applicable statute is referenced by citation
                                                   1
    Case 1:23-cv-03721-SCJ Document 1-154 Filed 08/21/23 Page 5 of 10




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      :i
1   number. Attached to this document as Appendix A is a complete set of Georgia
      \I:                                                                I
      ii,
2   statutes referenced below.
                                                                         '
3     [I    The Grand Jury heard extensive testimony on the subject of alleged election
4   fratd from poll workers, investigators, technical experts, and State of Georgia
                                                                         1
5   em:bloyees and officials, as well as from persons still claiming that such fraud took
      ,,.


6   pla~e. We find by a unanimous vote that no widespread fraud took place in the
       l:
7   Georgia 2020 presidential election that could result in overturning that election.
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Case 1:23-cv-03721-SCJ Document 1-154 Filed 08/21/23 Page 6 of 10

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                     EXHIBIT B
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.t© Order of 16 February 2023
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              2022-EX-000024




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     Case 1:23-cv-03721-SCJ Document 1-154 Filed 08/21/23 Page 7 of 10

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13                                                     VIII.
14            A majority of the Grand Jury believes that perjury may have been committed
15   by one or more witnesses testifying before it. The Grand Jury recommends that the
16   Dis;trictAttorney seek appropriate indictments for such crimes where the evidence is
        ,!

17   corhpelling.
18                                          CONCLUSION
19       j,
        :i
20      :1    The Grand Jury wishes to acknowledge the hardworking attorneys and staff of
21   •thJ:'Fulton County District Attorney's office. Any legal errors contained in this report
        ii
22   sh~:uld not be laid at their feet, however, because that Officehad nothing to do with
23   thJ!:recommendations
        ii•
                          contained herein.
        :1·
         :
24      ;,
        ,,    If this report fails to include any potential violations ofreferenced statutes that
        :i
25   wete
        I
          shown in the investigation, we acknowledge the discretion of the District
26   Attbrney to seek indictments where she finds sufficient cause. Furthermore, this
        t                                                                      i
27   Grand Jury contained no election law experts or criminal lawyers. IThe majority of
        t                                                                  I
28   thi$ Grand Jury used their collective best efforts, however, to atten'd every session,
        'I'                                                                    '

29   lis~~nto every witness, and attempt to understand the facts as presen:ted and the laws
                                                                               I
30   as explained.                                                             !

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     Case 1:23-cv-03721-SCJ Document 1-154 Filed 08/21/23 Page 8 of 10

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 1     :1     If the Court finds this report to have satisfied the purpos'.e of the Special
 2   Purpose Grand Jury as impaneled, we request that we be formally µischarged from
 3   our service.
 4
 5
 6   Th~s15th day of December, 2022
 7
 8                                              _ _,/sf
 9                                               Foreperson-              •
10
11                                              _ _,/sf
12                                               Deputy Foreperson -
13




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Case 1:23-cv-03721-SCJ Document 1-154 Filed 08/21/23 Page 9 of 10




                     EXHIBIT C
to Order of 16 February 2023
  j                                                 I




              2022-EX-000024:
    Case 1:23-cv-03721-SCJ Document 1-154 Filed 08/21/23 Page 10 of 10




                                       Addendum to Special Purpose Grand JuryFinal Report
                                                                                            I


       The undersigned,Special Purpose Grand Jury Foreperson and Deputy ~oreperson hereby
          .
          1

make :thisAddendum to the Special Purpose Grand Jury Final Report to clarify two matters:
         J
       1 Before its dissolution, the Special Purpose Grand Jury voted to recommend that the
          ! Special Purpose Grand Jury Final Report be published: The Special Purpose Grand Jury
          : did not recommend amanner or time for such publication.
       2. :'At no time were 24 or more jurors present when evidence was received. 24 jurors,
            including alternates, were present only at an introductory meeting at the Fulton County
            Courthouse on May 12, 2022.




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              -- p......... .......
